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lN THE UNITED sTATEs DISTRICT CoURT even t[&'/ *'-`3-‘3-
FoR THE WESTERN DIsTRICT oF TENNESSEE

 

 

WESTERN DIvlsIoN 65 risk 25 P*rt 5= 21

LECTROLARM CUSTOM )
sYsTEMs, INC. )

Plaintifr, §
vs. § NO. 3-2330 Ma/An
vICoN INDUSTRlEs, INC., et al., §

Defendants. §

oRDER

 

The undersigned conducted a telephone conference on May 2, 2005 as requested by
Plaintiff’ s counse]. Based upon statements of counsel for Plaintiff and for Defendant Bosch
Security Systems, lnc. (“Bosch”), the Court finds that the deadline for completing the depositions
of Bosch’s Rule 30(b)(6) designees should be extended for 45 days, or until June 16, 2005.
Furthermore, Plaintiff shall be allotted a total of 12 hours to complete all remaining depositions
of Bosch’s Rule 30(b)(6) designees

IT IS SO ORDERED.

S.//Z/:m= @_)

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: 70/}/}"') 2\: 200\$'_

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Honorable Samuel Mays
US DISTRICT COURT

